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 UNITED STATES DISTRICT COURT                                                            CLERK
 EASTERN DISTRICT OF NEW YORK                                                6/3/2022 12:59 pm
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                                                                                 U.S. DISTRICT COURT
                                                                            EASTERN DISTRICT OF NEW YORK
                                                                                 LONG ISLAND OFFICE

   IN RE: GIFT CARD CASES                                          ORDER

                                                                   Civil Action Nos.
                                                                   2:19-cv-06018 (GRB)
                                                                   2:19-cv-06022 (GRB)
                                                                   2:19-cv-06025 (GRB)
                                                                   2:19-cv-06027 (GRB)
                                                                   2:19-cv-06030 (GRB)
                                                                   2:19-cv-06031 (GRB)
                                                                   2:19-cv-06033 (GRB)
                                                                   2:19-cv-06161 (GRB)
                                                                   2:19-cv-06166 (GRB)
                                                                   2:19-cv-06170 (GRB)
                                                                   2:19-cv-06171 (GRB)
                                                                   2:19-cv-06173 (GRB)
                                                                   2:19-cv-06174 (GRB)
                                                                   2:19-cv-06176 (GRB)
                                                                   2:19-cv-06177 (GRB)
                                                                   2:19-cv-06178 (GRB)
                                                                   2:19-cv-06506 (GRB)
                                                                   2:19-cv-06508 (GRB)
                                                                   2:19-cv-06539 (GRB)
                                                                   2:19-cv-06990 (GRB)




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 GARY R. BROWN, United States District Judge.
        Nearly two years ago, the Court – with the consent of most of the parties – directed that

 these actions, which seek recovery under the ADA in connection with the unavailability of

 braille gift cards, be stayed pending Second Circuit review of the dismissal of several closely-

 related matters. The cases before this Court feature boilerplate allegations nearly identical to

 those contained in complaints dismissed by the U.S. District Court for the Southern District of

 New York, which dismissals have now been affirmed by the Second Circuit Court of Appeals.

 Calcano v. Swarovski N. Am. Ltd., 2022 WL 1788305 (2d Cir. June 2, 2022). As set forth in that

 opinion, and the underlying district court decisions, plaintiffs lack standing, having failed to

 articulate concrete harm. In the alternative, as discussed in the concurring opinion in Calcano,

 the allegations fail to plausibly state a claim under the ADA. Therefore, these cases are

 dismissed, and the Clerk is directed to close the files.

 SO ORDERED.

 Dated: Central Islip, New York
        June 3, 2022
                                                        /s/ Gary R. Brown
                                                        GARY R. BROWN
                                                        United States District Judge
